                                                                              KS
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                                                                                             Apr 6, 2021


                              UNITED STA TES DISTRIC T C O URT
                              SO UTH ERN DISTRICT O F FLORIDA
                   21-20210-CR-ALTONAGA/TORRES
                              C ase No.
                                        18U.S.C.j1349
                                        18U.S.C.j1347
                                        18U.S.C.j982(a)(7)
   UN ITED STATES O F AM ERICA

   5% .

   DALGIOQUENDO,
   JEA N LA G O and
   CLARISSA AZAR ,

                  D efendants.
                                          /


                                           INDICTM EN T

           The Grand July chargesthat:

                                    G ENER AL A LLEGA TIO NS

           Atalltimesrelevantto this Indictm ent:

                                       C om m erciallnsurance

                  SimplyHealthcarePlans/Anthem (û(Simply'')offeredAdm inistrativeServicesOnly
    (ç(ASO'')insuranceplanstoemployers.Theseemployerscontractedwiththeinsurancecompany
    Blue Cross Blue Shield ($$BCBS'')to handlethe administrativetaskssuch asbilling,claims
    handling,and claim s paym ent with respect to claim s subm itted on behalf of their em ployees.

    These A SO insurance plansreim bursed BCBS forthe m oney the insurance com pany paid outfor

    health benefitsfortheirrespective em ployees. As such,the em ployersacted in a self-insured role

    which m eansthatthey w ere financially responsible forany claim paymentsto theirem ployees.
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           2.      The A SO insurance plans offered by Sim ply and m anaged by BCBS were health

   carebenefitprograms,asdefinedinTitle18,UnitedStatesCode,Section24(b).
                   BCBS often m adepaym entsdirectly to physicians,m edicalclinics,orotherhealth

   care providers,rather than to the beneficiary who received the health care benefits,item s,and

    services.Thisoccurred when theprovideraccepted assignmentoftherightto paymentfrom the

    beneficiary.
                   To obtain paym entfortreatm entorservicesprovided to a beneficiary,physicians,

    m edical clinics, and other health care providers had to subm it item ized claim form s to the

    beneficiary's com m ercial insurance plan.      The claim form s were typically subm itted

    electronically via the internet.The claim form required certain im portantinform ation,including'
                                                                                                    .

    (a)thebeneficiary'snameandHealthlnsuranceClaim Numberorotheridentificationnumber;
    (b)adescriptionofthehealthcarebenefit,item,orservicethatwasprovidedorsuppliedtothe
    beneficiary;(c)thebillingcodesforthe benefit,item,orservice;(d)thedateupon whichthe
    benefit,item,orservice wasprovided orsuppliedto thebeneficiary;and (e)thenameofthe
    referring physician orotherhealth care provider,as wellas a unique identifying num ber,known

    eitherastheUniquePhysician Identification Number(k1UP1N'')orNationalProviderIdentifier

    ($çNPl'')
                   W hen a providersubm itted a claim form to a private insurance plan,the provider

    certified thatthecontentsofthe fonn were true,correct,com plete,and thatthe form wasprepared

    in com pliance w ith the applicable law sand regulations concerning the subm ission ofhealth care

    claim s. The provider also certified thatthe services being billed were m edically necessary and

    were in factprovided as billed.
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                                The D efendantsand Related Entities

          6.      LaO M edicalW ellnessCenterlnc.(kûLa05) wasa Floridacorporation located at
   9600 Southw estEighth Street,Suites //32,33,& 34,M iam i,Florida 33174. La O wasa m edical

   clinic thatpurportedly providescom m ercialprivate insurance beneficiaries w ith various m edical

   treatm entand services.

                  DefendantDALGIOQUENDO,aresidentofM iami-Dade County,Florida,was
   the registered agentand ow nerofLa 0 .
                  DefendantJEAN LA G O ,a residentofM iam i-DadeCounty,Florida,wasapatient

   recruiterforLa 0 .

          9.      DefendantCLA RISSA AZAR ,a residentofM iam i-D ade County,Florida,w as a

    patientrecruiterforLa 0 .

                                           CO UN T 1
                    Conspiracy to Com m itH eaIth Care Fraud and W ire Fraud
                                          (18U.S.C.j 1349)
                  The GeneralA llegations section ofthis Indictm entisre-alleged and incorporated

    by reference asiffully setforth herein.

                  From in oraround October2018,and continuing through in oraround June 2020,

    in M iam i-Dade County,in the Southern DistrictofFlorida,and elsewhere,the defendants,

                                        DALGIOQUENDO,
                                         JEAN LA G O and
                                         CLAR ISSA AZAR ,

    did willfully,thatis,with the intentto furtherthe objectsofthe conspiracy,and knowingly
    com bine,conspire,confederate and agree w ith othersknown and unknown to the Grand Jul'y,to

    com m itoffensesagainstthe United States,thatis:

                        to knowingly and willfully execute a schem e and artifice to defraud a health
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   care benefit program affecting com m erce,as defined in Title 18,U nited States Code,Section

   24(b),thatis,BCBS andASO insuranceplansmanagedbyBCBS,andto obtain,by meansof
   m aterially false and fraudulent pretenses,representations,and prom ises,m oney and property

   owned by,and underthe custody and controlof,said health care benefitprogram s,in connection

   withthedeliveryofandpaymentforhealth carebenefits,items,and services,inviolation ofTitle

    l8,United States Code,Section 1347.
                                      ,and
                  b.    to know ingly and w ith the intentto defraud,devise and intend to devise a

   schem e and artifice to defraud and forobtaining m oney and property by m eansofm aterially false

   and fraudulentpretenses,representations,and prom ises,know ing the pretenses,representations,

   and prom ises were false and fraudulentw hen m ade,and forthe purpose ofexecuting the schem e

    and artifice,did know ingly transm itand cause to betransm itted by m eansofw ire comm unication

    in interstate com m ercescertain writings,signs,signals,pictures and sounds,in violation ofTitle

    18,United States Code,Section 1343.

                                 PU RPO SE O F THE CO N SPIR AC Y

                  ltwasthe purpose of the conspiracy forthe defendants and theirco-conspirators

    to unlawfully enrich themselves by,among other things:(a) submitting and causing the
    submission offalseand fraudulentclaimsto health carebenefitprograms;(b)concealing the
    submission offalse and fraudulentclaimsto health care benefitprograms'
                                                                         ,(c)concealingthe
    receiptofthe fraud proceeds;and (d)diverting the fraud proceedsfortheirpersonaluseand
    benefit,and the use and benefitofothers,and to furtherthe fraud.

                          M A N NER AN D M EAN S O F TH E CO N SPIR AC Y

           The m anner and m eans by which the defendants and their co-conspirators sought to

    accomplishtheobjectsandpurposeoftheconspiracyincluded,amongothers,thefollowing:
Case 1:21-cr-20210-CMA Document 1 Entered on FLSD Docket 04/06/2021 Page 5 of 18




                  DALGIOQUENDO,JEAN LAGO,CLARISSA AZAR,and otherssubmitted
   and caused La O to submit,via interstate wires,approximately $1,827,530 to BCBS and ASO
   insurance plans m anaged by BCBS in claim s for reim bursem entw hich falsely and fraudulently

   represented thatvarioushealth carebenefitsw erem edically necessary,prescribed by a doctor,and

   had been provided by LaO to insurance beneficiariesofBCBS and A SO insurance plansm anaged

   by BCBS.
                  A s a resultof such false and fraudulentclaim s,BCBS and A SO insurance plans

   m anaged by BCB S m ade paym ents to La 0 ,by w ire into La O 's corporate bank account,in the

   approximateamountof$313,670.
           6.     DALGI OQUENDO,JEAN LAGO,CLARISSA AZAR,and othersused the
   proceedsofthe health care fraud fortheirpcrsonaluse and benefit,and to furtherthe fraud.

           A llin violation ofTitle 18,United StatesCode,Section 1349.

                                            CO UNTS 2-20
                                          H ealth Care Fraud
                                           (18U.S.C.j1347)
                  The GeneralA llegations section ofthis Indictm entisre-alleged and incorporated

    by reference asiffully setforth herein.
                  From in oraround October2018,and continuing through in oraround June 2020,

    in M iam i-Dade County,in the Southern D istrictofFlorida,and elsewhere,the defendants,

                                         DALGIOQUENDO,
                                          JEAN LA G O and
                                          CLAR ISSA AZAR ,

    in connection w ith the delivery of and paym entforhealth care benefits,item s,and services,did

    know ingly and w illfully execute,and attemptto execute,a schem e and artifice to defraud a health

    care benefitprogram affecting com m erce,as defined in Title 18, United States Code, Section
Case 1:21-cr-20210-CMA Document 1 Entered on FLSD Docket 04/06/2021 Page 6 of 18




   24(b),thatis,BCBS and ASO insuranceplansmanaged by BCBS,and to obtain,by meansof
   m aterially false and fraudulent pretenses, representations, and prom ises,m oney and property

   ow ned by,and underthe custody and controlofsaid health care benefitprogram s.

                                 Purpose ofthe Schem e and A rtifice

           3.     lt w as a purpose of the schem e and artifice for the defendants and their

   accomplicestounlawfullyenrichthemselvesby,amongotherthings:(a)submittingandcausing
   thcsubmissionoffalseandfraudulentclaimstoahealthcarebenefitprogram;(b)concealingthe
   submission offalseand fraudulentclaimsto ahealth care benefitprogram;(c)concealing the
   receiptofthe fraud proceeds;and (d)diverting the fraud proceeds fortheirpersonaluseand
   benefit,and the use and benefitofothers,and to furtherthe fraud.

                                      The Schem e and A rtifice

           The M annerand M eanssection ofCount 1ofthis lndictm entisrealleged and incorporated

    by reference asthough fully setforth herein asa description ofthe schem e and artifice.

                  A cts in Execution orA ttem pted Execution ofthe Schem e and A rtifice

           On or aboutthe dates specified as to each countbelow ,in M iam i-D ade County,in the

    Southern DistrictofFlorida,and elsewhere,thedefendants,in connection w ith the delivery ofand

    paym entfor health care benefks,item s,and services,did know ingly and w illfully execute,and

    attem pt to execute,the above-described schem e and artifice to defraud a health care benefit

    program affecting com m erce,thatis,BCBS and A SO insurance plans m anaged by BCBS,and to

    obtain,by means of m aterially false and fraudulent pretenses, representations, and prom ises,

    m oney and property ow ned by,and under the custody and control of, said health care benefit

    program ,in thatthedefendantssubm ittedand caused the subm ission offalse and fraudulentclaim s

    seeking the identified dollaram ounts,and representing thatthe La O provided m edicalitem sand
Case 1:21-cr-20210-CMA Document 1 Entered on FLSD Docket 04/06/2021 Page 7 of 18




   services to BCBS and A SO insurance plans m anaged by BCBS beneficiaries pursuant to

   physicians'ordersand prescriptionsassetforth below :

   Count Defendantts) Beneficiary          Approx.         Claim Number         Services
                                             Date                               Claim ed;
                                            C laim                              Approx.
                                           Received                             A m ount
                                                                                Claim ed
      2         D ALG I         A .J.       M ay 9,       14100000741235138     Therapeutic
             OQUENDO                         2019                             Activities,Direct
                and                                                            (one-on-one)
                JEAN                                                          PatientContact
                LA G O                                                        by theProvider
                                                                              (useofdynamic
                                                                                activitiesto
                                                                                  im prove
                                                                                 functional
                                                                               performance),
                                                                              Each 15 M inutes

                                                                                  $300.00
      3         DAT,G I         H.L.        July 17,      11100000754657342   Application ofa
             OQUENDO                         2019                             M odalityto lor
                                                                               M oreA reas;
                  and                                                         Ul
                                                                               trasound,Each
                 JEAN                                                           15 M inutes
                LAG O
                                                                                  $150.00
      4         DA LG I         B .R.      A ugust20, 11100000761393614            Nerve
              OQ UENDO                       2019                                Conduction
                    d                                                           Studies;7-8
                  an                                                              Studies
                 JEAN
                LAGO                                                              $990.00
       5        DA LGI          S.L.       August20, 14100000761393628          Therapeutic
              OQUENDO                         2019                             Procedure,1or
                    d                                                           M ore A reas,
                  an                                                               Each 15
                 JEAN                                                           M inutes;Gait
                LA GO                                                              Training
                                                                               (lncludesStair
                                                                                 Climbing)
                                                                                   $300.00
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   Count Defendantts) Beneficiary   Approx.     Claim Number         Services
                                     Date                           Claim ed;
                                     Claim                          A pprox.
                                    Received                        A m ount
                                                                    Claim ed
      6       DALG I       J.P.     August22, 14100000761940736        N erve
            OQUENDO                   2019                           Conduction
                                                                     Studies;7-8
               and                                                     Studies
            CLA R ISSA
              AZAR                                                     $p9()()()
                                                                            .




      7       DA LG I      J.P.     A ugust26, 14100000762551332      Cervical
            OQUENDO                   2019                            Traction
               and
                                                                    Equi
                                                                      R
                                                                        pmentN ot
                                                                        equiring
            CLA RISSA                                              AdditionalStand
              AZAR                                                    orFram e

                                                                      $3500.00
      8       DAL GI       K .S.    August26, H 100000762551728        N erve
            OQUENDO                   2019                           Conduction
               and                                                   Studi
                                                                       S es;7-8
                                                                        tudies
            CLARISSA
              AZAR                                                     $990 00
                                                                            .



      9       DALG I       R.P.     Septem ber 14100000764778026   Application ofa
            OQUENDO                  6,2019                        M odality to 1or
                  d                                                  M ore Areas;
                an                                                 ContrastBaths
               JEAN                                                E              ,
                                                                    ach 15 M inutes
              LA G O
                                                                       $300.00
Case 1:21-cr-20210-CMA Document 1 Entered on FLSD Docket 04/06/2021 Page 9 of 18




   Count Defendantts) Benefciary    Approx.    Claim Number        Services
                                    D ate                          Claim ed;
                                    Claim                          A pprox.
                                   Received                        A m ount
                                                                   Claim ed
     10       DALG I      B .G .   Septem ber H 100000766735081   Lum bar-sacral
            OQUENDO                 l7,2019                          Orthosis,
                                                                  Sagittal-coronal
                and                                                C ontrol,w ith
               JEAN                                                Rigid Anterior
              LAG O                                                 and Posterior
                                                                  Frame/panelts),
                                                                     Posterior
                                                                   Extendsfrom
                                                                  Sacrococcygeal
                                                                  Junction to T-9
                                                                  Vertebra,Lateral
                                                                      Strength
                                                                    Provided by
                                                                   Rigid Lateral
                                                                  Frame/panelts),
                                                                     Produces
                                                                   lntracavitary
                                                                    Pressure to
                                                                  ReduceLoad on
                                                                   lntervertebral

                                                                     $6000.00
      l1      DA LG I      R.G .   Septem ber 14100000766735002     Therapeutic
            OQUENDO                 17,2019                       Procedure,1or
                 d                                                 V ore A reas,
               an                                                     Each 15
              JEAN                                                 M inutes;Gait
              LA G O                                                  Training
                                                                   (includesStair
                                                                     Climbing)
                                                                      $150.00
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    Count   Defendantts) Beneficiary   Approx.     Claim Number         Services
                                         Date                          C laim ed;
                                        C laim                          Approx.
                                       R eceived                        A m ount
                                                                        Claim ed
      12      D ALG I       O.S.       October9, 14100000771260455    M anualTherapy
            OQUENDO                      2019                         Techniques(EG,
                                                                       M obilization/
                and                                                    M anipulation,
               JEA N                                                       M anual
              LA G O                                                    j. ym phatic
                                                                         D rainage,
                                                                           M anual
                                                                       Traction),lor
                                                                       M ore Regions,
                                                                      Each 15 M inutes


                                                                          $300.00
      l3      D ALG I        Y.T.      October28, 14100000774918404     Therapeutic
            OQUENDO                      2019                         Procedure,1or
                  d                                                     M ore Areas,
                an                                                        Each 15
             CLA RISSA                                                    M inutes;
               AZA R                                                   Neurom uscular
                                                                       Reeducation of
                                                                         M ovem ent,
                                                                          Balance,
                                                                        Coordination,
                                                                         Kinesthetic
                                                                       Sense,Posture,
                                                                           and/or
                                                                       Proprioception
                                                                      forSitting and/or
                                                                          Standing
                                                                          Activities


                                                                          $300.00




                                           10
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    Count   Defendantts) Beneficiary    Approx.     Claim Number         Services
                                         Date                            Claim ed;
                                        C laim                           Approx.
                                       Received                          A m ount
                                                                         Claim ed
      14      DA LG I       E.P.       Janual'
                                             y 14, 14100000790186397   M anualTherapy
            OQUENDO                      2020                          Techniques(EG,
                                                                        M obilization/
               and                                                      M
                                                                           anipulation,
            CLA RISSA                                                       M anual
              A ZA R                                                      Iwym Pjaatic
                                                                           D rainage,
                                                                            M anual
                                                                       Traction),lor
                                                                        M ore Regions,
                                                                       Each l5 M inutes


                                                                           $300.00
      l5       DALG I       B.G .      January 30, 14100000793524446     Therapeutic
            OQUENDO                       2020                         Procedure,1or
                and                                                      M oreA reas,
                                                                           Each 15
               JEA N                                                       M inutes;
              LA G O                                                     Therapeutic
                                                                         Exercisesto
                                                                           Develop
                                                                         Strength and
                                                                          Endurance,
                                                                       Range ofM otion
                                                                        and Flexibility

                                                                           $300.00
      16       DA LG I       B .R.      February   H l00000796642883     Therapeutic
             OQUENDO                    13,2020                        Adivities,Direct
               and                                                      (One-on-one)
                                                                       PatientContact
               JEAN                                                    by the Provider
               LAGO                                                    (useofdynamic
                                                                         activitiesto
                                                                           im prove
                                                                          functional
                                                                        performance),
                                                                       Each 15 M inutes

                                                                           $300.00
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    Count Defendantts) Beneficiary   Approx.     Claim Number         Services
                                      D ate                           C laim ed;
                                      C laim                          A pprox.
                                     Received                         A m ount
                                                                      Claim ed
      17       DALG I       J.T.     M arch l2, H l00000802748628     Therapeutic
             OQUENDO                   2020                         Activities,Direct
               aDd                                                   lone-on-one)
             CLA RISSA                                              PatientContact
                                                                    by the Provider
               AZAR                                                 (useofdynam jc
                                                                      activitiesto
                                                                        improve
                                                                       functional
                                                                     performance),
                                                                    Each 15 M inutes

                                                                        $300.00
      18       DALG I      D .C.     M arch 12, 14100000802748622   Application ofa
             OQUENDO                   2020                         M odalityto 1or
                and                                                  V ore Areas;
             CLA RISSA                                                 Electrical
                                                                      Stim ulation
               AZAR                                                 (Manual), Each
                                                                      15 M inutes

                                                                        $300.00
      19       D ATUGI     M .R.     M ay 27,   14100000814698031 Application ofa
             OQUENDO                   2020                         M odalityto lor
                and                                                   V ore Areas;
               JEA N                                                 ContrastBaths,
                                                                    Each 15 M inutes
               LA G O
                                                                        $300.00




                                         12
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    Count Defendantts) Beneficiary             Approx.        Claim Number            Services
                                               D ate                                 Claim ed;
                                               Claim                                 A pprox.
                                              Received                               A m ount
                                                                                     Claim ed
      20         DALG I           C.A.         June 17,     14100000818567950        Therapeutic
                OQUENDO                          2020                              Adivities,Direct
                                                                                    (one-on-one)
                                                                                    PatientContact
                                                                                    by the Provider
                                                                                   (useofdynamic
                                                                                      activitiesto
                                                                                        improve
                                                                                       functional
                                                                                    performance),
                                                                                   Each 15 M inutes

                                                                                       $300.00
           In violation ofTitle 18,U nited StatesCode,Sections 1347 and 2.


                                         FO RFEITU RE
                                         (18U.S.C.j982)
                  The allegationsofthislndictm entare hereby re-alleged and by thisreference fully

    incorporated herein forthe purpose of alleging forfeiture to the United States ofcertain property

    inwhichthedefendants,DALGIO QUENDO,JEAN LAGO,and CLARISSA AZAR,havean
    interest.

                  Upon conviction of a violation of Title 18, United States Code, Sections 1347

    and/or 1349,as alleged in this Indictm ent,the defendant shallforfeit to the United States any

    property,realorpersonal,thatconstitutesorisderived,directly orindirectly,from grossproceeds

    traceable to the com m ission of the offense,pursuant to Title 18, United States Code,Section

    982(a)(7).
                  Thepropertysubjecttoforfeitureasaresultoftheallegedoffensesincludes,butis
    notlim ited to,a sum ofapproximately $313,670.66,which representsthe totalamountofgross
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        proceeds traceable to the violations of Title l8,United States Code,Sections 1347 and/or 1349

       allegedinthelndictmentandwhichmaybesoughtasaforfeituremoneyjudgment.
                                lfanyofthepropertysubjecttoforfeiture,asaresultofanyactoromissionofthe
        defendant,

                                (a)       cannotbelocatedupontheexerciseofduediligence;
                                (b)       hasbeentransferredorsoldto,ordepositedwith,athirdparty;
                                (c)       hasbeenplacedbeyondthejurisdictionofthecourt;
                                (d)       hasbeensubstantiallydiminishedinvalue;or
                                          has been com m ingled with otherproperty which cannotbedivided

                                withoutdifficulty;

            the United Statesshallbe entitled to forfeiture ofsubstitute property underthe provisions ofTitle

       21,UnitedStatesCode,Section853(p).
                     AllpursuanttoTitle18,UnitedStatesCode,Section982(a)(7),andtheproceduressetforth
        in Title 21,United States Code,Section 853,as incorporated by Title 18,U nited States Code,

        Section982(b)(1).
                                                                      A TRUE BILL




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       ..
                                                                      FO EP RSON

   i                             jp?/?'

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   (                             k
                                                ,
                                                -
                                                .
        rty N NTO O                       N   LEZ
       A TIN G 1.m 1 E                    TA ES A TTORN EY

            kj 1 .
             ).#-'*'--'''
                            X
        SHANN ON SHA W
        ASSISTAN T UN ITED STATES ATTO RN EY


                                                                 14
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                                            UNITED STATES DISTRICT CO URT
                                           SOUTHERN DISTRICT O F FLORIDA

UNITED STATES OF AM ERICA                                  CASE NO.

                                                           C ERTIFICATE O F TRIA L ATTO RNEY.
DALGIOQUENDO,etal.,                                        Superseding Caselnformation:
                             Defendants.     /

CourtDivision:(SelectOne)                                  New defendantts)             YeS
 z     M iam i            Key W est                        Num berofnew defendants
       FTL                W PB         FTP                 Totalnum berofcounts

                 lhavecarefully considered theallegationsofthe indictment,the numberofdefendants,thenumberof
                 probable witnessesand the legalcom plexitiesofthelndictment/lnformation attachedhereto.
                 lam aware thatthe information supplied on this statementwillbe relied upon by the Judges ofthis
                 Courtin setting theircalendarsand scheduling criminaltrials underthe mandate of the Speedy Trial
                 Act,Title28 U.S.C.Section 3161.
                 lnterpreter:      (YesorNo)         Yes
                 Listlanguage and/ordialect Soanish
                 Thiscase willtake 5 daysforthepartiesto try.
                 Please check appropriatecategoryandtypeofoffense listed below:

                 (Checkonlyone)                                   (Checkonlyone)

        l        0 to 5 days                     /                Petty
        11       6 to 10 days                                     M inor
        IlI      ll to 20 days                                    M isdem.
        IV       21to 60 days                                     Felony                 z
        V        61daysand over
        6.       HasthiscasepreviouslybeenfiledinthisDistrictCourt?                    (YesorNo)   No
         lfyes:Judge                                       CaseNo.
         (Attachcopy ofdispositiveorder)
         Hasacomplaintbeentiledinthismatter?               (YesorNo)              X0
         Ifyes:M agistrateCase No.
         Related m iscellaneousnumbers:
         Defendantts)in federalcustodyasof
         Defendantts)in statecustodyasof
         Rule20 from theDistrictof
         lsthisapotentialdeathpenaltycase?(YesorNo)                  No
                 Doesthiscaseoriginatefrom a matterpending in theCentralRegion ofthe U.S.Attorney'sOffice
                 priortoAugust9,2013(Mag.JudgeAlicia0.Valle)?                          Yes         No ?

       8.        Doesthiscaseoriginatefrom amatterpending in theNorthern Region oftheU .S.Attorney'sOffice
                 priortoAugust8,2014(M ag.JudgeShaniekM aynard)?                       Yes         No   z
                 Doesthiscase originate from amatterpending in the CentralRegion ofthe U.S.Attorney'sOftice
                 priortoOctober3,2019(Mag.JudgeJared Strauss)?                         Yes -       No z
                 Doesthiscaseoriginate from am atterpending in theSouthern Region ofthe U.S.Attorney'sOftice
                  priortoNovember23,2020(JudgeAileenM .Cannon)?                        Yes V       No
                                                                        %
                                                                   .<   ..J .
                                                                            ...   .u
                                                                   SHANNON SHAW
                                                                   ASSISTANT UNITED STATES ATTORNEY
 #penaltySheetts)attached                                          FloridaBarNo.92806
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                             UN ITED STATES DISTRICT CO UR T
                             SOU TH ER N DISTR IC T O F FLO RIDA

                                       PENALTY SH EET

    Defendant'sNam e: DALGIOOUENDO

    C aseN o:

    Count#:1

    Conspiracy to Com m itHealth Care Fraud and W ire Fraud                               .

    Title 18,United States Code.Section 1349

    * M ax.Penalty:      20 Y ears'lm prisonm ent

    Counts#:2-20

    Health Care Fraud

    Title l8.United States CodesSection l347
                                  -   --




    * M ax.Penalty:      l0 Y ears'lm prisonm entasto each count
    * Refers only to possible term of incarceration,does not include possible lines,restitution,
    specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
Case 1:21-cr-20210-CMA Document 1 Entered on FLSD Docket 04/06/2021 Page 17 of 18




                            U N ITED STA TES D ISTR ICT CO UR T
                            SO U TH ER N DISTRIC T O F FLO R ID A

                                      PENA LTY SH EET

  D efendant's N am e: JEA N LA G O                                    -

  C ase N o:

  C ount#:1

  C onspiracy to Com m itHealth Care Fraud and W ire Flaud                               .

  Title 18.U nited States CodesSection 1349

   * M ax.Penalty:      20 Y ears'lm prisom nent

   Counts #:2-5,9-12,15-16,& 19

   H ealth Care Fraud                         -                                              -




   Title 18.United StatesCode.Section 1347

   *M ax.Penalty:        10 Years'lm prisonmentasto each count
   * R efers only to possible term of incarceration,does not include possible fines,restitution,
   specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
Case 1:21-cr-20210-CMA Document 1 Entered on FLSD Docket 04/06/2021 Page 18 of 18




                                U N ITED STAT ES D ISTR ICT C O U R T
                                SOUTHERN DISTRICT OF FLORIDA

                                             PENALTY SHEET

  D efendant'sN am e: CLA R ISSA AZA R

   Case N o:

   Count#:1

   Conspiracy to Com m itH ealth Care Fraud and W ire Fraud

   Title 18.United States CodeaSection 1349

   * M ax.Penalty:      20 Years'lm prisonm ent

   Counts#:6-8,13-14,17-18

   H ea1th Care Fraud
                   -        -           .-       --




   Title 18.U nited States Code,Section 1347

   * M ax.Penalty:       10 Years'lm prisonm entasto each count
   * R efers only to possible term of incarceration,does not include possible fines,restitution,
   specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
